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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           Case No. 19-cv-80419-BLOOM/Reinhart

 HOWARD COHAN,

        Plaintiff,

 v.

 ATLANTIC PETRO INC.,

       Defendant.
 ________________________________/

                        ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon the Notice of Voluntary Dismissal with Prejudice,

 ECF No. [6] (“Notice”), filed on April 23, 2019. The Court has carefully reviewed the Notice and

 the record, and is otherwise fully advised in the premises. Accordingly, it is ORDERED AND

 ADJUDGED as follows:

            1. The Notice, ECF No. [6] is APPROVED and ADOPTED;

            2. The above-styled case is DISMISSED WITH PREJUDICE;

            3. Each party shall bear its own attorneys’ fees and costs;

            4. To the extent not otherwise disposed of, all pending motions are denied as MOOT

                and all deadlines are TERMINATED;

            5. The Clerk of Court is directed to CLOSE this case.

        DONE AND ORDERED in Chambers at Miami, Florida, on April 23, 2019.




                                                        _________________________________
                                                        BETH BLOOM
                                                        UNITED STATES DISTRICT JUDGE
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 Copies to:

 Counsel of Record




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